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                            United States District Court
                                      NORTHERN DISTRICT OF TEXAS
                                            DALLAS       DIVISION


 THE HONORABLE BARBARA J.                                §
 HOUSER (RET.), in Her Capacity as                       §
 Trustee of the BSA Settlement Trust                     §
                                                         §             CIVIL ACTION NO. 3:23-CV-1592-S
 v.                                                      §
                                                         §
 ALLIANZ GLOBAL RISKS US                                 §
 INSURANCE COMPANY, et al.                               §

                                                   ORDER

       Before the Court is Plaintiff's Motion to Reconsider Stay Pending Ruling in Harrington v.

Purdue Pharma, L.P. (“Motion”) [ECF No. 365]. Having reviewed and considered the Motion,

National   Surety   and   Allianz’s     Response    to       Trust’s   Motion    [ECF   No. 369],   Responding

Defendants’   Opposition to Plaintiff's Motion [ECF No. 370], Plaintiffs Reply in Support of

Motion [ECF No. 372], and the applicable law, the Court DENIES the Motion. This case is to

remain STAYED       and ADMINISTRATIVELY                     CLOSED pending resolution of Harrington v.

Purdue Pharma, L.P., Case No. 23-124, in the Supreme Court of the United States.

       SO ORDERED.

       SIGNED February 16, 2024.



                                                                KAREN GREN SCHOLER
                                                                UNITED STATES DISTRICT JUDGE
